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                                  UNITED STATES DISTRICT COURT
                                     DISTRICT OF MINNESOTA

 MARIE GARLAND, individually and on                  Case No.
 behalf of all others similarly situated,
                                                     CLASS ACTION COMPLAINT
                     Plaintiff,

 v.

 I.C. SYSTEM, INC., a Minnesota
 corporation,
                     Defendant.


                     CLASS ACTION COMPLAINT AND JURY DEMAND

           Plaintiff Marie Garland brings this class action complaint against Defendant I.C.

System, Inc., to stop Defendant’s practice of making unsolicited telephone calls to the

cellular telephones of consumers nationwide, and to obtain redress for all persons injured

by its conduct. Plaintiff, for her class action complaint, alleges as follows upon personal

knowledge as to herself and her own acts and experiences, and, as to all other matters,

upon information and belief, including investigation conducted by her attorneys.

                                     NATURE OF THE ACTION

           1.       Defendant I.C. System, Inc. is debt collector working in conjunction with

various companies, most notably retailers.

           2.       Defendant repeatedly made unsolicited telephone calls to Plaintiffs and the

other putative Class member’s cellular telephones in violation of the Telephone

Consumer Protection Act, 47 U.S.C. § 227, et seq. (“TCPA”).



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           3.       Neither Plaintiff Garland, nor the other members of the proposed Class and

SubClass, ever provided the cellular telephone numbers on which they received calls to

Defendant for any purpose related to a debt, nor did they provide consent to have

Defendant make telephone calls to those cellular telephone numbers.

           4.       By making the telephone calls at issue in this Complaint, Defendant caused

Plaintiff and the members of the Class and SubClass actual harm, including the

aggravation and nuisance that necessarily accompanies the receipt of unsolicited and

harassing telephone calls, and the monies paid to their wireless carriers for the receipt of

such telephone calls.

           5.       The TCPA was enacted to protect consumers from unsolicited phone calls

exactly like those alleged in this case. In response to Defendant’s unlawful conduct,

Plaintiff filed the instant lawsuit and seeks an injunction requiring Defendant to cease all

unsolicited telephone calling activities and an award of statutory damages to the members

of the Class under the TCPA, together with costs and reasonable attorneys’ fees.

                                              PARTIES

           6.       Plaintiff Marie Garland is a natural person who is a resident and citizen of

the State of California.

           7.       Defendant I.C. System, Inc. is a corporation organized and existing under

the laws of the State of Minnesota with its principal place of business located at 444 Hwy

96 East, Vadnais Heights, Minnesota, 55127. I.C. System does business throughout the

United States, the State of Minnesota and in this District.




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                                  JURISDICTION AND VENUE

           8.       This Court has federal question subject matter jurisdiction under 28 U.S.C.

§ 1331, as the action arises under the Telephone Consumer Protection Act, 47 U.S.C. §

227 et seq., which is a federal statute.

           9.       The Court has personal jurisdiction over Defendant and venue is proper in

this District because Defendant is headquartered here and transacts significant amounts of

business within this District.

                             COMMON FACTUAL ALLEGATIONS

           10.      Defendant placed and continues to place repeated and harassing phone calls

to consumers who allegedly owe a debt held or otherwise owned by Defendant, or held or

otherwise owned by a third party on whose behalf Defendant is acting. The Plaintiff and

class members never provided the number called to Defendant for any purpose related to

an outstanding debt or any transaction underlying a debt. Instead, Defendant acquires

phone numbers through various means such as “skip tracing” or “number trapping.”

           11.      Defendant has placed calls for the purpose of alleged debt collection to

thousands of consumers in the past four years.

           12.      The most egregious types of these calls are placed to those consumers who

in fact have no debt whatsoever owed to Defendant or Defendant’s business partners.

Instead, a person may start receiving calls as the result of Defendant’s skip tracing,

number trapping, or other information collection methods.

           13.      For example, in or around the Fall of 2012, Plaintiff began to receive

numerous phone calls from Defendant on her cellular telephone seeking to collect a debt


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allegedly stemming from a purchase at Target. However, the debt Defendant was calling

about belonged to someone other than her.

           14.   Plaintiff never provided her cellular telephone number to Defendant, never

consented to receive telephone calls from Defendant at that cellular number, and did not

provide that cellular telephone number to any third party related to Defendant or related

to the alleged debt Defendant sought to collect.

           15.   Importantly, Plaintiff does not owe Target, or Defendant, any money.

           16.   The calls Plaintiff received were made using equipment that had the

capacity to store or produce telephone numbers to be called using a random or sequential

number generator, and to dial such numbers. Additionally, Defendant’s calls utilized

interactive voice recognition technology, also known as a predictive dialer. This

technology, on information and belief, dials several numbers simultaneously and

connects once somebody answers to the first available representative.

           17.   In fact, by Defendant’s own admission, it utilizes five predictive dialer

systems to place calls, as well as a “proprietary dialer accelerator.”

           18.   Plaintiff never consented to, requested, or otherwise desired or permitted

Defendant to make telephone calls to her cellular telephone number, nor did Plaintiff

provide Defendant with her cellular telephone number in any capacity.

           19.   Defendant was and is aware that the above described telephone calls were

and are being made to consumers without those consumers’ prior express consent.




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                                    CLASS ALLEGATIONS

           20.    Plaintiff brings this action pursuant to Federal Rule of Civil Procedure

23(b)(2) and 23(b)(3) on behalf of herself and the Class and Subclass defined as follows:

           No Consent Class

           Any person in the United States to whom Defendant (1) placed a call in
           connection with the collection of a debt; (2) to a cellular telephone number;
           (3) on which the individual called never consented to receive telephone
           calls from Defendant.

           No Debt Subclass

           Any No Consent Class Member to whom Defendant placed a call in
           connection with the collection of a debt, and the debt is not owed by the
           person called.

           Excluded from the Class and Subclass are the Defendant, any person who
           previously commenced and concluded a lawsuit against Defendant arising
           out of the subject matter of this lawsuit, and the Judge assigned to this case
           and any member of the Judge’s immediate family.

           21.    Numerosity: The exact number of Class and SubClass members is

unknown and not available to Plaintiff at this time, but it is clear that individual joinder is

impracticable. On information and belief, Defendant has made telephone calls to

thousands of consumers who fall into the definition of the Class and SubClass. Class

members can be identified through Defendant’s records.

           22.    Typicality: Plaintiff’s claims are typical of the claims of other members of

the Class and SubClass, in that Plaintiff and the Class members sustained damages

arising out of Defendant’s uniform wrongful conduct and unsolicited telephone calls.

           23.    Adequate Representation: Plaintiff will fairly and adequately represent

and protect the interests of the Class and SubClass, and has retained counsel competent


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and experienced in complex class actions. Plaintiff has no interest antagonistic to those of

the Class, and Defendant has no defenses unique to Plaintiff.

           24.   Commonality and Predominance: There are many questions of law and

fact common to the claims of Plaintiff and the Class and Subclass, and those questions

predominate over any questions that may affect individual members of the Class and

SubClass. Common questions for the Class and SubClass include, but are not necessarily

limited to the following:

                 (a)    whether Defendant’s conduct constitutes a violation of the TCPA;

                 (b)    whether the equipment Defendant used to make the telephone calls

                        in question was an automatic telephone dialing system as

                        contemplated by the TCPA;

                 (c)    whether Defendant systematically made telephone calls to persons

                        who did not previously provide Defendant with their prior express

                        consent to receive such telephone calls;

                 (d)    whether Defendant systematically made telephone calls to SubClass

                        members who do not owe the debt for which the calls are made; and

                 (e)    whether Class members are entitled to treble damages based on the

                        willfulness of Defendant’s conduct.

           25.   Superiority: This case is also appropriate for class certification because

class proceedings are superior to all other available methods for the fair and efficient

adjudication of this controversy because joinder of all parties is impracticable. The

damages suffered by the individual members of the Class and SubClass will likely be


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relatively small, especially given the burden and expense of individual prosecution of the

complex litigation necessitated by Defendant’s actions. Thus, it would be virtually

impossible for the individual members of the Class and SubClass to obtain effective relief

from Defendant’s misconduct. Even if members of the Class could sustain such

individual litigation, it would still not be preferable to a class action, because individual

litigation would increase the delay and expense to all parties due to the complex legal and

factual controversies presented in this Complaint. By contrast, a class action presents far

fewer management difficulties and provides the benefits of single adjudication, economy

of scale, and comprehensive supervision by a single Court. Economies of time, effort and

expense will be fostered and uniformity of decisions ensured.

                                          COUNT I
                          Violation of the TCPA, 47 U.S.C. § 227
                     (On behalf of Plaintiff and the Class and SubClass)

           26.   Plaintiff incorporates by reference the foregoing allegations as if fully set

forth herein.

           27.   Defendant made unsolicited telephone calls to cellular telephone numbers

belonging to Plaintiff and the other members of the Class and SubClass without their

prior express consent to receive such calls.

           28.   Defendant made the telephone calls using equipment that had the capacity

to store or produce telephone numbers to be called using a random or sequential number

generator, and to dial such numbers.




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           29.      Defendant utilized equipment that made the telephone calls to Plaintiff and

other members of the Class and SubClass simultaneously and without human

intervention.

           30.      By making the unsolicited telephone calls to Plaintiff and the Class’s

cellular telephones without prior express consent, and by utilizing an automatic telephone

dialing system, Defendant has violated 47 U.S.C. § 227(b)(1)(A)(iii).

           31.      As a result of Defendant’s unlawful conduct, Plaintiff and the members of

the Class and SubClass suffered actual damages in the form of monies paid to receive the

unsolicited telephone calls on their cellular phones and under section 227(b)(3)(B) are

each entitled to, inter alia, a minimum of $500.00 in damages for each such violation of

the TCPA.

           32.      Should the Court determine that Defendant’s conduct was willful and

knowing, the Court may, pursuant to section 227(b)(3)(C), treble the amount of statutory

damages recoverable by Plaintiff and the other members of the Class.

                                      PRAYER FOR RELIEF

           WHEREFORE, Plaintiff Marie Garland, individually and on behalf of the Class

and SubClass, prays for the following relief:

           1.       An order certifying the Class and Subclass as defined above, appointing

Plaintiff Marie Garland as the representative of the Class and SubClass, and appointing

her counsel as Class Counsel;

           2.       An award of actual and statutory damages;




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           3.       An injunction requiring Defendant to cease all unsolicited telephone calling

activities, and otherwise protecting the interests of the Class and SubClass;

           4.       An award of reasonable attorneys’ fees and costs; and

           5.       Such other and further relief that the Court deems reasonable and just.

                                          JURY DEMAND

           Plaintiff requests a trial by jury of all claims that can be so tried.

           Dated March 4, 2013                  Respectfully submitted,

                                                LOCKRIDGE GRINDAL NAUEN P.L.L.P.

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